                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

ARMANDO RODELA-AGUILAR,                    )
                                           )
                     Movant,               )
                                           )
vs.                                        )      Civil No. 08-0204-CV-W-ODS
                                           )      Crim. No. 05-0132-04-CR-W-ODS
UNITED STATES OF AMERICA,                  )
                                           )
                     Respondent.           )


      ORDER AND OPINION GRANTING MOTION FOR POSTCONVICTION RELIEF
                      PURSUANT TO 28. U.S.C. § 2255

        On November 30, 2005, following a two day trial, Armando Rodela-Aguilar
(“Rodela”) was convicted by a jury of conspiracy to distribute methamphetamine. On
May 3, 2006, he was sentenced to 151 months imprisonment. His conviction and
sentence were affirmed on appeal. See United States v. Castro-Gaxiola, 479 F.3d 579
(8th Cir. 2007). On March 18, 2008, Rodela filed a Motion to Vacate, Set Aside or
Correct Sentence pursuant to 28 U.S.C. § 2255, which, construed liberally raises three
claims of ineffective assistance of trial counsel: (1) the failure to conduct a handwriting
analysis on an important piece of evidence; (2) the failure to investigate and call
witnesses; and (3) the failure to seek a minor role reduction at sentencing. The Court
appointed counsel to represent Rodela and a hearing was held on December 19, 2008.
For the following reasons, Rodela’s motion for postconviction relief is granted.


                                     I. BACKGROUND


        On February 27, 2005, Reyes Guadalupe Martinez-Ruiz (“Martinez”), Joel
Castro-Gaxiola (“Castro”), and Angela Rose Fennell (“Fennell”) left San Diego for
Kansas City. They drove a Mitsubishi Mirage with a temporary Missouri license tag.
The tag had been mailed to Castro in San Diego in an envelope bearing Rodela’s name
and the return address of a previous residence shared by Rodela and Arturo Navarrete-



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Silva (“Navarrete”), and their destination was Navarrete’s and Rodela’s new residence
on Fremont Street in Kansas City.
       Navarrete was the subject of a drug trafficking investigation by local police.
Detective George Barrios testified at trial that beginning around February 4, 2005, he
was in frequent contact with a confidential informant regarding drug activity at the
Fremont address. The informant told Detective Barrios that an occupant of the house
known as “Shentin” (who later proved to be Navarrete) had shown her a large amount of
methamphetamine in a basement bedroom. It is undisputed that Rodela resided in that
basement bedroom. The other half of the basement contained a workshop area, which
was attached to a garage. The informant’s communications with law enforcement
included numerous references to Navarrete and Navarrete’s brother, Ramon. All of the
information from the confidential informant was included in a search warrant used to
search the residence. Neither the informant, nor the search warrant, mentioned Rodela.
       On March 1, 2005, the informant told police that Navarrete had said he was
expecting a shipment and that this “material” would arrive that day. Early on March 1,
Martinez, Castro, and Fennell arrived at the Fremont address. The informant told police
that several men were speaking in the basement, from which Navarrete brought up half
a pound of methamphetamine. The informant stated that it appeared Navarrete had
recently received the shipment he was expecting. Police set up surveillance of the
residence at 8:15 p.m. on March 1. Around 9:00 p.m., four individuals left the house in
two separate cars. Officers stopped the vehicles a short distance from the house.
Martinez and Navarrete occupied a Nissan Sentra; Castro and Navarrete’s brother,
Ramon, occupied the Mitsubishi Mirage.
       After the vehicles were stopped, the search warrant was executed on the
Fremont residence. As the officers were approaching the house, Rodela pulled up in a
silver mini van and walked to the front door. Rodela was taken into custody as he was
unlocking the door. Officers began their search in the basement bedroom of the
residence. Officers found drug paraphernalia, over 307 grams of meth in a PVC pipe
under Rodela’s bed, and another 334 grams of meth in a closet near Rodela’s bed.
More drugs and paraphernalia were found in the other half of the basement and in other

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upstairs areas of the residence.
         On March 31, 2005, an indictment charged Navarrete, Castro, Martinez, Fennell,
and Rodela with various federal drug violations. Rodela was charged with conspiracy to
distribute more than fifty grams of methamphetamine under Count One, and aiding and
abetting possession with intent to distribute more than fifty grams of methamphetamine
under Count Two. Navarrete and Fennell pled guilty prior to trial. Rodela, Castro, and
Martinez proceeded to trial.


                                      II. DISCUSSION


         A claim of ineffective assistance of counsel is governed by the standard set forth
in Strickland v. Washington, 466 U.S. 668 (1984). “This standard requires [the
applicant] to show that his ‘trial counsel’s performance was so deficient as to fall below
an objective standard of reasonable competence, and that the deficient performance
prejudiced his defense.’” Nave v. Delo, 62 F.3d 1024, 1035 (8th Cir. 1995), cert. denied,
517 U.S. 1214 (1996) (quoting Lawrence v. Armontrout, 961 F.2d 113, 115 (8th Cir.
1992)). This analysis contains two components: a performance prong and a prejudice
prong.


         Under the performance prong, the court must apply an objective standard
         and “determine whether, in light of all the circumstances, the identified
         acts or omissions were outside the wide range of professionally competent
         assistance,” Strickland, 466 U.S. at 690, while at the same time refraining
         from engaging in hindsight or second-guessing of trial counsel's strategic
         decisions. Id. at 689. Assuming the performance was deficient, the
         prejudice prong “requires proof ‘that there is a reasonable probability that,
         but for a counsel's unprofessional errors, the result of the proceeding
         would have been different.’” Lawrence, 961 F.2d at 115 (quoting
         Strickland, 466 U.S. at 694).

Id. Failure to satisfy both prongs is fatal to the claim. Pryor v. Norris, 103 F.3d 710, 713
(8th Cir. 1997) (no need to “reach the performance prong if we determine that the
defendant suffered no prejudice from the alleged ineffectiveness”); see also DeRoo v.


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United States, 223 F.3d 919, 925 (8th Cir. 2000).


       A. Failure to Analyze Handwriting
       At trial, the jury heard evidence that a Missouri temporary car tag had been
mailed to Castro in California, in an envelope bearing Rodela’s name and the return
address of a previous residence he shared with Navarrete. Rodela argues that his
attorney was ineffective for failing to argue to the jury that the handwriting on the mailing
label did not match his handwriting, but that it did match Navarrete’s. He states he
informed his attorney that he was not the person who mailed the envelope to California.
At the hearing his attorney, Lisa Nouri, testified that she never sought a handwriting
analysis. “[U]nder Strickland ‘reasonable performance of counsel includes an adequate
investigation of facts, consideration of viable theories, and development of evidence to
support those theories.’” Morales v. Ault, 476 F.3d 545, 556 (8th Cir. 2007) (quoting
Foster v. Lockhart, 9 F.3d 722, 726 (8th Cir. 1993)). While counsel made a vague
reference to Rodela’s handwriting contained on a Miranda waiver form that was
admitted into evidence and implied there was some dissimilarity to the mailing label, she
failed to convey the distinctions in the handwriting or offer Navarrete’s handwriting for
comparison.
       The Court concludes Rodela’s attorney did not act in an objectively competent
manner in failing to analyze the handwriting on the mailing label. The label bearing
Rodela’s name was the most important piece of evidence presented to the jury tying
Rodela to the conspiracy. The evidence that the drugs were found in Rodela’s room
could be explained by the bedroom’s proximity to the garage and location outside the
normal traffic patterns of the house. The jury heard evidence that Rodela was not even
present at the residence, or in the bedroom, while the other conspirators were preparing
to distribute the drugs from his bedroom. The confidential informant provided no
information linking Rodela to the drug activity at the house. Therefore, counsel’s failure
to attack the authenticity of the mailing label was a critical omission.
       Additionally, the Court finds that Rodela’s defense was prejudiced by counsel’s
failure. After reviewing Rodela’s handwriting on the Miranda waiver form and the

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pleadings he has signed in this action, the Court finds that the handwriting on the
mailing label does not match Rodela’s, but rather, matches Navarrete’s. Even without
expert testimony, a comparison could have been made by the jury, see Fed. R. Evid.
901(b)(3), and the jury would probably have drawn the same conclusion as the Court if
Rodela’s attorney had presented the handwriting of Rodela and Navarrete for
comparison to the label. With the most important piece of evidence linking Rodela to
the conspiracy removed, the Court concludes there is a reasonable probability the jury
would have returned a verdict of not guilty.


       B. Failure to investigate and call witnesses
              i. Rodela’s employers
       Rodela argues that his attorney was ineffective for failing to investigate and call
as witnesses his three employers. Peter Medina, the owner of Cantina El Mexicano Y
Restaurante, testified at the postconviction hearing. He stated that Rodela worked at
his restaurant as a singer and keyboarder from October 2004 to March 2005. He
testified that on March 1, 2005, the day the methamphetamine was being distributed,
Rodela was at the restaurant from around 3:30 p.m. to around 9:00 p.m. Mr. Medina
also testified that he never saw Rodela use or sell drugs at work. He stated that
Rodela’s attorney never contacted him before the trial, but that he would have testified if
he had been asked.
       Jaime Vergil, the owner of El Molino Restaurant and Bar, also testified at the
hearing that Rodela was a musician at his restaurant from January 2001 to March 2005.
He testified that he was a punctual and reliable employee and that he never saw Rodela
deal drugs. Mr. Vergil also testified that he was never contacted by Rodela’s attorney
before the trial, but that he would have testified if he had been asked.
       Rodela also worked as a musical instructor and producer at Loaiza Records and
Promotions from August 2004 to March 2005. Nieves Loaiza, President of the Loaiza
Records, submitted a letter as part of Rodela’s motion for post-conviction relief. In his
letter, Mr. Loaiza described Rodela as a dedicated and hard-working employee. Mr.
Loaiza could not be located to testify at the hearing.

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       Ms. Nouri testified that Rodela told her about his employers and asked that they
testify on his behalf, but she never attempted to contact them. She explained that she
did not think their testimony would be beneficial because establishing that Rodela was a
musician would not controvert the Government’s assertion that he was a member of the
conspiracy. Ms. Nouri stated that she believed that if Rodela’s employers had testified
at trial, the jury would have learned that Rodela was an illegal alien, that he was paid
under the table, that he was sometimes tipped with cocaine rolled up in dollar bills, and
that one of the restaurants, El Molino, was known for its involvement in drug trafficking.
       The Court concludes that Rodela’s attorney was ineffective for failing to call Peter
Medina as a witness. The jury heard evidence that Rodela was not at home while the
other conspirators were in his bedroom dividing the methamphetamine. However, Peter
Medina’s testimony that Rodela was working during the hours the drugs were being
distributed from his bedroom would have further removed him from the conspiracy,
particularly after the link between Rodela and the temporary tag was properly attacked.
The benefit of providing an explanation for his whereabouts would have outweighed any
harm caused by the revelation that Rodela was not legally employed. While the Court
agrees that Rodela could have been a member of the conspiracy even if he was not
present while some conspiratorial activities were taking place, the Court concludes that
Mr. Medina’s testimony, combined with the jury’s likely conclusion that Rodela was not
the person that mailed the temporary car tag to California, would have changed the
jury’s verdict to not guilty.1
               ii. Arturo Navarrete-Silva
       Rodela also argues his counsel was ineffective for failing to interview and call as
a trial witness Arturo Navarrete-Silva. An affidavit purportedly signed by Navarrete was


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         Conversely, counsel’s decision to not present the testimony of Jaime Vergil was
within the wide range of competent trial strategy. Mr. Vergil would not have provided
the jury with information on Rodela’s whereabouts during conspiratorial activities, and
his testimony may have been harmful to Rodela’s case if the jury learned El Molino was
implicated in drug trafficking. Likewise, without knowing exactly how or if Mr. Loaiza
would have testified, the Court cannot conclude counsel was ineffective in failing to call
him as a witness.

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included as an exhibit to Rodela’s motion for postconviction relief. The affidavit
describes the time line and details of the conspiracy and states that Rodela was not
aware of the conspiracy or involved with it in any way, and that Navarrete wrote
Rodela’s name on the mailing label. The affidavit also states that Navarrete was willing
to testify on Rodela’s behalf at trial. Navarrete was subpoenaed to testify at the
postconviction hearing. However, immediately upon taking the witness stand, he
refused to answer questions and asserted his Fifth Amendment rights on advice of
counsel. Therefore, without substantiation for the claims made in the affidavit or even
confirmation that Navarrete wrote it,2 the affidavit has no evidentiary value in this action.
       Ms. Nouri testified at the hearing that Rodela had informed her that he wanted
Navarrete to testify on his behalf. She contacted Navarrete’s attorney, Chris Harlan, on
two occasions. Mr. Harlan told Ms. Nouri that he would advise his client to assert his
Fifth Amendment rights if called as a witness. He also stated that even if Navarrete did
testify, the testimony would be harmful to Rodela’s defense. These conversations
occurred both before and after Navarrete decided to plead guilty. Contrary to Rodela’s
assertions, Navarrete’s Fifth Amendment privilege against self-incrimination did not
cease upon his pleading guilty, but rather, continued through his sentencing, which
occurred after Rodela’s trial. See Mitchell v. United States, 526 U.S. 314, 326 (1999).
       Rodela argues that his attorney should have attempted to independently
investigate whether Navarrete was willing to testify and what his testimony would have
been. However, Ms. Nouri could not ethically contact Navarrete. See Missouri Rule 4-
4.2 of the Rules of Professional Conduct. Therefore, she had to accept Mr. Harlan’s
representation that he would advise Navarrete to exercise his Fifth Amendment rights.
Ms. Nouri could not call Navarrete to the stand simply to force him to invoke his right to
remain silent in the presence of the jury. See United States v. Doddington, 822 F.2d
818, 822 (8th Cir. 1987). Likewise, it would have been unreasonable for her to do so, in
light of Mr. Harlan’s statement that his testimony would be harmful to Rodela’s case.


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        The Court notes that the signature on the affidavit matches the handwriting on
the signature in Navarrete’s plea agreement. However, without Navarrete’s testimony
that he prepared and signed the affidavit, the Court cannot consider it.

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Therefore, the Court cannot conclude Ms. Nouri’s performance was deficient in not
calling Navarrete as a witness.
       Even if the Court believed Ms. Nouri should have done more to investigate
Navarrete as a witness, the Court cannot find that Rodela’s defense was prejudiced
without Navarrete’s testimony. At the postconviction hearing, Navarrete refused to
testify. Without knowing what Navarrete’s testimony would have been at trial, the Court
cannot conclude Rodela’s defense was prejudiced without it.


       C. Failure to Argue for Minor Role Reduction at Sentencing
       At Rodela’s sentencing, Ms. Nouri explained her reason for not seeking the minor
participant reduction: “I specifically did not ask for a minor participant reduction because
that would be completely opposite of the defense of no knowledge to say that you had
some minor or minimal knowledge.” Sentencing Tr. at. 4. At the postconviction
hearing, Ms. Nouri continued to assert her belief that a minor participant reduction was
not available to a defendant who has maintained his innocence. Counsel’s decision to
not pursue the reduction was based on a misunderstanding of the law.
       A minor role adjustment is intended “for a defendant who plays a part in
committing the offense that makes him substantially less culpable than the average
participant,” U.S.S.G. § 3B1.2, comment, (backg’d), “but whose role could not be
described as minimal.” Id., comment. “A defendant’s role in the offense is measured by
the relevant conduct for which he is held responsible,” United States v. Thurmon, 278
F.3d 790, 792 (8th Cir. 2002), not by what the defendant admits to. See United States v.
Yirkovsky, 338 F.3d 914 (8th Cir. 2003) (defendant denied guilt but still given minor
participant reduction). “The propriety of a downward adjustment is determined by
comparing the acts of each participant in relation to the relevant conduct for which the
participant is held accountable and by measuring each participant’s individual acts and
relative culpability against the elements of the offense.” United States v. Ramos-Torres,
187 F.3d 909, 915 (8th Cir. 1999).
       Under Strickland’s performance prong, the Court finds counsel’s failure to pursue
a minor role reduction because of her misunderstanding of the law falls outside the wide

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range of competent assistance. Viewed in the light most favorable to the Government,
the evidence at trial was that Rodela mailed a temporary car tag to co-conspirators in
California and that his room was used for storing large quantities of methamphetamine.
However, Rodela’s conduct, unlike the other members of the conspiracy, did not include
transporting, handling, and distributing the drugs. Therefore, Rodela would have been
eligible for the minor role reduction. At sentencing, the Court found a total offense level
of 34, a criminal history category of I, and a sentencing range of 151 to 188 months.
The Court sentenced Rodela on Counts 1 and 2 to concurrent terms of 151 months
custody. The Court ordered 5 years supervised release on Counts 1 and 2, the terms to
run concurrently. A $200 special assessment was ordered.
        If Ms. Nouri had argued that Rodela’s sentence should have been reduced
because of his minor role in the offense, the Court would have applied a three level
reduction, making Rodela’s total offense level a 31. Rodela’s new sentencing range
would have been 108 to 135 months, with a mandatory minimum sentence of 120
months. Based on the Court’s decision to sentence Rodela at the bottom of his
previous guideline range, the Court likely would have sentenced him to the bottom of his
revised guideline range to 120 months on both Counts, and certainly to less than the
151 months Rodela received. Accordingly, the Court concludes that Rodela was
prejudiced by his attorney’s failure to seek the reduction.3




                                    III. CONCLUSION


        The judgment is vacated and Rodela is granted a new trial. Even if a new trial
were not warranted, his sentence would be vacated and a new sentencing proceeding
initiated.


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       Rodela also argues the his attorney was ineffective for failing to raise the
sentencing error on appeal. However, because Ms. Nouri did not object to the
Presentence Report’s failure to recommend a minor role in the offense adjustment,
there was no error preserved for appeal.

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IT IS SO ORDERED.



                                         /s/ Ortrie D. Smith
                                         ORTRIE D. SMITH, JUDGE
DATE: January 8, 2009                    UNITED STATES DISTRICT COURT




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